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       AO 91 (Rev. 11/10 Criminal Coi)lp!ain\                                                                                                      JUN 2 I    ZU1Si
                                                                                                                                            p~i~s~~·
                                                UNITED STATES t11STR.ICT COURT.                                                            BY
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                                                                                                                                                --..a.:5:.-.1.._ DEP CLK
                                                                                    . forthe
                                                                     Eastern District of North Carolina

                       . United States of America                                       )
                                    v.                                                  )
                                                                                        )
                       Ri~rdo     Noel Ayala..Am_aya
                                                                                        )
                                                                                        )
                                                                                        )
                                                                                        )
                                  Defendant(s}


                                                                     CRIMINAL·•COMPLAINT
                 I, the. complainant in thi~ c~e, state tlw.t the foUowipg is tr1,1e .to t4e· ~est ofp1y tmo\vledg¢ and b~lief.
       On or about the date(s) of                               May 31, 20~8                   in tile county of                    Wa.ke                  inthe·
             Eastern          District of                 · North Carolina          , th~ defendant(s)viol~teci: ·
                    Code .Section                                             .                   0.ffel~$eDescrjptiqn

       8 U;S.C. § 1326(a)                                           The d~fendaht, a,n a,lien. wa,$ fouoq ih 'the iJn.it¢d, ~i~t~s afteL~~~ing . . .
                                                                    pr9viously been denied admissiory, 9xcli.Jcied, d~pqrt¢d and reinovedfi:o111. the .
                                                                    lJ,nit¢~.$tat~i_s ·an.June 18, •2()oj:.atAtl0nta: Georgia; on' f ebruary 28, 2o11;.
                                                                    at A~l~r)ta; Georgia, and agafn QnApr!l~2, 2014; at Br~w6~viUe{Texas,,ahd
                                                                                                                   0


                                                                    nothaving obtainedthe·ekpfe$s c::onseiitof th.E!.'Aottqmey Gen~rafo~ his
                                                                    successor, the Se~reta[y 9f Homeland 'security:· to reaRj:>lyfor iadmissiOn
                                                                    thereto.              ' ·     ·         · · ·     ··      ·. .· · · · · · ·

                                             ,·• .. ··<    ..   :     •.·    I
                This criminal complafotis basea orfthese facts:
       plea$e se~ attached affidavit




                iY! Continued oh the attached sheet



       Ori this day, Frederick Tarry                                                                   Frederick Tafr.Y. ·oepol}cition OffiC.er. ICE
                                                                                                                       Pr.ii1ted11ai1ie qndiitle
       appeared before me via reliable electronic means, was
       placed tinder oath, and        att~sted            to the contents
       ofthis· Corripl~iht.              ·
       Date:· ).... v Jt<rlfv ·. R--OC8 ·
       City and state:                       Raleigh, North Garolina                                   JAMES E. GAT;ES llS. Magi~t~te·J~clge ' ·..
                                                                                                                       Prinled iidme ci11d iitle



· sk                       Case 5:18-mj-01552-JG Document 1 Filed 06/22/18 Page 1 of 6
                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA

                                         AFFIDAVIT

           1.    I,    Frederick Tarry,    having been duly sworn; do hereby

      depose and state:     I am a Deportation Officer with the Department

      of Homeland Security      (OHS),    Immigration and Customs Enforcement

      (ICE), formerly known as the Immigration and Naturalization Service

      (INS), assigned to the Raleigh, North Carolina office. I have been

      employed by ICE for o.ver 11 years,          since September '17,    2006. My
                                                                  \.

      duties rou~inely include the investigation of violatibns of the

      federal   criminal      statutes     concerning     immigration      offenses,

      including the reentry of illegal aliens into the United States.

           2. This affidavit is submitted as evidence of probable cause
                                                          ~




      supporting the arrest warrant for Ricardo Noel Ayala-Amaya               (here

      after referred to as "AYALA") for reentry by a previously removed

      alien in violation of Title 8       u.s.c.   § 1326(a). This affidavit does

      not set forth all information kn6wri to your af f iant about this case

      and is being submitted for the purpose of providing sufficient

      information to establish probable cause.

           3.   In the course of investigating this matter, I have obtained

      information through law enforcement channels and the official Alien

      File (A-File) numbered A078 319 850. This file is maintained in the

      name of Ricardo Noel Ayala-Amaya and contains this individual's

      biographical     information,   family history,                        '
                                                              records ·of encounters




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            Case 5:18-mj-01552-JG Document 1 Filed 06/22/18 Page 2 of 6
           with ICE,    convict~on    records, photographs and fingerprints. Based

           on the review of this A-File, I have concluded that it does in fact

           pertain to the defendant in this matter.

                4.     The A-File reflects the following information relative to

           this individual:

                       a.    AYALA is a citizen and national of Honduras.

                       b.    His date of birth is XXX XX; 1985, and his name is

                             correctly       reflected   in    this     affidavit   and   the

                             complaint to which it is attached.

                       c.   AYALA was,       on August 21,     2001,    ordered removed in

                             absentia from the U.S. to Honduras by an immigration

                             judge    ~t   Atlanta, Georgia.

                       d.   AYALA was, on May 9, 2007, arrested by ICE officers

                             at his    r~sidence    in Wake County, North Carolina ..

                       e.   AYALA was; on June. 18, 2007, removed from the U.S.

                             to Honduras at Atlanta, Georgia, after he was warned

                             of the penalties for re.entry, per Form I-294.

                       f.   AYALA,     of his own volition,           reentered the United

                             States on or after June 18, 2007, and did so without

                             obtaining       the   express    consent    of   the   At~orney


                             General, or his successor the Secretary of Homeland

                             Security, to reapply for admission.

                       g.    AYALA was, on December 24, 2010, encountered by ICE


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     SI\        Case 5:18-mj-01552-JG Document 1 Filed 06/22/18 Page 3 of 6
                  287(g)   officers      at     the   Wake         County    jail,    and

                  biometrically identified as                a    previously     removed

                  alien. The prior order of removal was reinstated.

           h.     AYALA was,      on February 28,        2011,      removed from the

                  U.S. to Honduras at Atlanta, Georgia, after he was

                  warned of the penalties . for reentry,                    per Form I-·

                  294.

           i ·.   AYALA,   of his own .volition,             reentered the United

                  States on or about April              6,       2014,   near Hidalgo,

                  Texas,   and did      so    without    obtaining th.e          express

                  consent of the Attorney General,                  or his successor

                  the Secretary of Homeland Security, to reapply for

                  admission.

           j.     AYALA was, on April 9, 2014, arrested by U.S. Border

                  Patrol agents near Falfurrias, Texas, biometrically

                  identified as a previously removed alien, · and the

                  prior order of removal was reinstated the following

                  day.

           k.     AYALA was, on April 22, 2014, removed from the U.S.

                  to   Honduras    at   Brownsville,         Texas,      after   he   was

                  warned of the penalties for reentry,                      per Form I-

                  294.

      5.   A search of· ICE databases           reveals          that AYALA did not


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51\    Case 5:18-mj-01552-JG Document 1 Filed 06/22/18 Page 4 of 6
      receive permission of the United States Attorney General, or his

      successor     the    Secretary      of   Homeland   Security,       to   reenter    as

      required by 8 U.S.C. § 1360(d).

             6.   On May 30, 2018, AYALA was arrested in Wake County, North

      Carolina by the Wake County Sheriff's Department for Driving While

      License Revoked, Resisting a Public Officer, Fictitigus Information

      to Officer, and was additionally charged with Possession of Drug

      Paraphernalia and felony Possession of Cocaine and Possession of a

      Controlled Substance on Jail Premises, after a gram of cocaine was

      .discovered in his possession.

             7.    On May 31,      2018,    AYALA was encountered by ICE 287 (g)

      Program officers        at   the    Wake   County   jail.    A complete      set    of

      fingerprints were submitted to DHS and FBI databases resulting in

      a positive biometric match for a previously removed alien. An ICE

      detainer was        lodged after record checks         and a    voluntary sworn

      statement confirmed alienage and removability.

             8.   On June 19, 2018, ICEwas notified AYALA would be released

      from   c~stody   after he was sentenced to 20 days, time served, for'.

      Possession of Drug Paraphernalia and Resisting a Public Officer,

      and . the    other    charges      were . dismissed.   The    ICE    detainer      was

      activated. AYALA will be held in ICE custody at the Wake County

      jail pending removal.

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51\
              Case 5:18-mj-01552-JG Document 1 Filed 06/22/18 Page 5 of 6
             9. Based on all of the foregoing, I, Frederick Tarry, believe

      that there is ample probable cause to conclude that Ricardo Noel

      Ayala-Antaya, is in fa,ct guilty of illegal reentry into the United

      States by an alien previous·ly removed in violation of Ti tie 8 U.S. C.

      §   132 6 (a),   and respect::fully ask that the Court issue a warrant

      ordering his arrest for such crime.



             Further your Affiant sayeth not.




                               frecierick Tarry
                               Deportation Officer
                               Immigration & Customs Enforcement    \




                 ~-z......
      On this              day of June 2018, Deportation Officer Frederick
      Tarry appeared before me via reliable electronic means, was placed
      und~r oahh, ahd attest~ci to the ciontent~ ot this affidavit ..




      United States Magistrate Judge
      Eastern District of North Carolina




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SI\
              Case 5:18-mj-01552-JG Document 1 Filed 06/22/18 Page 6 of 6
